CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 1 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 2 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 3 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 4 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 5 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 6 of 7
CASE 0:22-cv-01663-KMM-JFD Doc. 1 Filed 06/27/22 Page 7 of 7
